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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

J.G.,

                Plaintiff,                       CIVIL ACTION NO.
        v.                                       1:20-CV-05233-SEG
NORTHBROOK INDUSTRIES,
INC., D/B/A UNITED INN AND
SUITES,
                Defendant.

                 SUPPLEMENTAL PRETRIAL ORDER

  1. There are no unresolved motions pending for consideration by the Court

        except as noted herein.

  2. The names of the parties as shown in the caption to this order and the

        capacity in which they appear are correct and complete and there is no

        question by any party as to the misjoinder or non-joinder of any parties.

  3. The following attorneys are designated as lead counsel for the parties:

             a. Plaintiff: David H. Bouchard

             b. Defendant: Dana M. Richens

  4. While the parties may present trial depositions, no witnesses may testify

        remotely by videoconference.
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5. As per Attachment E to the proposed pretrial order (Doc. 196 at 49), the

   parties have stipulated to the following facts:

      a. At all relevant times, Northbrook Industries, Inc. d/b/a United Inn

         & Suites solely owned, operated, and managed the hotel property

         located at 4649 Memorial Drive, Decatur, GA 30032.

      b. At all relevant times, United Inn & Suites had 172 guest rooms.

6. The legal issues to be tried are limited to those set forth by the parties

   in the proposed pretrial order. (Doc. 196 at 35-43; 44-48.)

7. The parties’ respective witness lists have been filed on the docket. (Doc.

   196 at 50-53.) No party may call a witness not appearing on the cited

   witness lists.

8. Plaintiff’s exhibit list has been filed on the docket. (Doc. 213.) Plaintiff

   may not introduce evidence not appearing on the cited exhibit list unless

   the Court orders otherwise. As of 8:00 a.m. on July 7, 2025, Defendant

   does not appear to have filed its exhibit list.      This matter will be

   addressed with the parties before the commencement of trial.

9. Opening statements are limited to 30 minutes per side. Closing

   statements are limited to 40 minutes per side.

10.      At the end of each day of trial, counsel must inform each other and

   the Court of the identities of witnesses they plan to call on the following

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   day of trial. Trial often moves more quickly than the parties anticipate.

   Counsel shall ensure that they have a sufficient number of witnesses for

   each day of trial. Witnesses may need to be taken out of order depending

   on scheduling and availability.

11. Plaintiff’s revised voir dire questions (Doc. 211) are approved, except as

   to Question 6(a). The Court sustains the objection to Question 6(a).

12. The parties’ motions in limine and Defendant’s Rule 412 motion have

   been resolved by written order. (Doc. 204.)

13. For the reasons stated on the record on July 2, 2025, Defendant’s motion

   to exclude the testimony of Plaintiff’s expert witness, Naeshia McDowell

   (Doc. 99), was DENIED.

14. For the reasons stated on the record on July 3, 2025, Defendant’s motion

   to exclude the testimony of Plaintiff’s expert witness, Darrell B.

   Chaneyfield (Doc. 100), was GRANTED IN PART and DENIED IN

   PART. The ruling as to each opinion offered by Mr. Chaneyfield is briefly

   summarized below.

      a. Opinion 1: Mr. Chaneyfield offers the opinion that “[w]idely

         available and free anti-trafficking materials and trainings educate

         hotel owners and staff about the observable signs and indicators of

         sex trafficking and empower them to respond appropriately to

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      potential trafficking situations.” (Doc. 100-4 at 10.) This opinion

      has a sufficiently reliable basis in Mr. Chaneyfield’s experience.

      Specifically, Mr. Chaneyfield identified several anti-trafficking

      trainings that he believes were widely available during the

      relevant period. (Id. at 10-13.) Further, in his expert report, Mr.

      Chaneyfield outlined sex trafficking indicators discussed in such

      trainings that might assist hotel staff in identifying and

      responding to trafficking. (Id.) As such, the Court concluded that

      the opinion is based on a sufficiently reliable methodology and is

      likely to assist the jury in understanding the evidence.

   b. Opinion 2: Mr. Chaneyfield seeks to offer the opinion that “United

      Inn fell far below the industry standard by failing to provide formal

      anti-trafficking training materials and training to its hotel staff

      members from 2017-2019.”        (Doc. 100-4 at 13.)        The Court

      determined that this opinion, as stated, must be excluded under

      Rule 702 and Daubert.      While Mr. Chaneyfield contends that

      United Inn “fell far below the industry standard[,]” he has not

      provided a sufficiently reliable basis for determining the “industry

      standard” with respect to anti-trafficking training or materials.

      Mr. Chaneyfield’s expert report does not establish whether and to

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            what extent other hotel industry participants provide anti-

            trafficking training or material to their staff. (Id. at 13-14, 22-24.)1

            Moreover, when asked in his deposition whether his own hotel

            group, IHG, disseminated anti-trafficking training, and to what

            extent the staff of other major hotel groups participated in anti-

            trafficking training, Mr. Chaneyfield was unable to provide an

            answer. (Doc. 101-2 at 11, 13-14 (pp. 324-25, 333-34).) Although

            experience alone may satisfy the reliability prong of the Daubert-

            inquiry, a proposed expert must establish “why that experience [i]s

            a sufficient basis for the opinion.” United States v. Frazier, 387

            F.3d 1244, 1265 (11th Cir. 2004). Because Mr. Chaneyfield has not

            done so here, he may not offer Opinion 2 as stated. Nothing in this

            order precludes this expert from giving his opinion of the

            importance of anti-trafficking training for hotel staff, based on his

            education, experience, and specialized knowledge of the industry.



1 The expert report states that “standards of the industry” can be found in the

Trafficking Victims Protection Reauthorization Act, the Department of
Homeland Security Blue Campaign, the Tourism Child Protection Act Code of
Conduct, and the materials of an organization called ECPAT. (Doc. 100-4 at
22.) However, the report does not reveal what, if any, hotel industry
participants have adopted any standards promulgated or influenced by these
authorities or entities.

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   c. Opinion 3: Mr. Chaneyfield intends to offer the opinion that

      “United Inn failed to follow hotel safety and security industry

      standards during the relevant period pertaining to guest security

      and safety. The United Inn also failed to follow industry standards

      on assessing risk of commercial sexual activities and responding

      accordingly.” (Doc. 100-4 at 14.) As with Opinion 2, the Court

      determined that Mr. Chaneyfield has not provided a sufficiently

      reliable foundation for establishing “industry standards” with

      respect to hotel security or assessing the risk of commercial sex

      activities. However, Mr. Chaneyfield has provided several reasons

      why he believes that United Inn did not provide adequate security

      measures that are grounded in his extensive experience and a

      retrospective security review he conducted according to the

      International Association of Professional Security Consultants’

      (“IAPSC”) Forensic Methodology. (Id. at 14-21, 23 n.11; see also

      Doc. 118-6.) Other courts have found the IAPSC methodology to

      be sufficiently reliable and Defendant’s expert, Mr. Vellani, also

      uses the IAPSC methodology as the basis for some of his opinions.

      See, e.g., Childress v. Kentucky Oaks Mall Co., No. 5:06CV-54-R,

      2007 WL 2772299, at *7 (W.D. Ky. Sept. 20, 2007). Accordingly,

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      while Mr. Chaneyfield is precluded from discussing unspecified

      “industry standards” regarding anti-trafficking measures, he may

      offer his opinion that the United Inn did not adequately protect its

      guests based on his experience and his IAPSC security

      assessment. In the Court’s view, such testimony has a sufficiently

      reliable basis and will assist the trier of fact in understanding the

      evidence.   To the extent that Defendant disagrees with Mr.

      Chaneyfield’s reasoning or conclusions, it may vigorously cross-

      examine him at trial.

   d. Opinion 4: Mr. Chaneyfield seeks to offer the opinion that “with

      adequate training and security measures in effect at the United

      Inn consistent with industry standards during the relevant time,

      it is more likely than not that the subject incidents described in

      the Complaints could have been prevented or avoided.” (Doc. 100-

      4 at 21.) The Court finds that this opinion must be excluded under

      Daubert and Rule 702 for lacking a sufficiently reliable basis.

      Although Mr. Chaneyfield states that he reaches this conclusion

      based on hospitality security standards, IAPSC methodology, and

      his review of discovery materials, (Id. at 22), he provides no

      reasoning explaining how these sources lead him to the conclusion

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            reached, or why they provide a sufficient basis for his opinion. See

            Frazier, 387 F.3d at 1265.      He does not, for instance, present

            empirical evidence demonstrating that certain security measures

            are effective in preventing sex trafficking. In the absence of any

            explanation, Mr. Chaneyfield’s opinion that J.G.’s sex trafficking

            likely would not have occurred with proper training and security

            measures appears to be purely speculative and is unlikely to assist

            the jury in grasping the issues in this case. Plaintiff has not

            demonstrated to the Court that it is more likely than not that the

            proffered testimony meets the admissibility requirements set forth

            in Rule 702. See Fed. R. Evid. 702 advisory committee note to 2023

            amendment. As such, Mr. Chaneyfield may not offer Opinion 4.2


2 On July 3, following the Court’s oral ruling as to Opinion 4, Plaintiff made an

oral motion to exclude certain opinion testimony offered by Mr. Vellani
regarding the efficacy of security measures to deter and prevent sex trafficking.
Plaintiff argued, in part, that Mr. Vellani, like Mr. Cheneyfield, relied on
IAPSC methodology in forming his opinions. The Court denied Plaintiff’s oral
motion. The Court did not exclude Mr. Chaneyfield’s Opinion 4 because it
found IAPSC methodology unreliable. (It made no such finding, and, indeed,
both experts are free to testify about their reliance on this methodology).
Rather, the Court excluded Opinion 4 because Mr. Chaneyfield does not
explain how IAPSC methodology (or any other methodology, research, or
evidence) leads to the conclusion that “it is more likely than not” that J.G.’s sex
trafficking could have been prevented if Defendant had adequate training and
security measures. Significantly, Mr. Vellani does not proffer the inverse of
that proposition. He does not, for example, argue that J.G.’s trafficking more

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  15. For the reasons stated on the record on July 3, 2025, Plaintiff’s motion

     to exclude and preclude select opinions and testimony from Defendant’s

     expert witness, Karim Vellani (Doc. 109), was GRANTED IN PART and

     DENIED IN PART. The ruling as to each issue raised in the motion is

     briefly summarized below.

        a. Issue 1: Plaintiff moves to exclude Mr. Vellani’s rebuttal opinions

           under Federal Rules 26 and 37 as untimely and otherwise

           improperly disclosed.     The Court denied the motion. While

           Defendant’s untimely and insufficient disclosure was not

           substantially justified under Rule 37(c), it was harmless, for the

           reasons stated on the record. Mr. Vellani may testify that he

           disagrees with Mr. Chaneyfield’s opinion. However, his rebuttal

           testimony will be limited to the opinions and methodology he

           disclosed in his report and deposition.     He may not offer new

           evidence or opinion as a basis for his disagreement with Mr.

           Chaneyfield’s opinion.




likely than not would still have occurred had Defendant employed adequate
training and security.




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    b. Issue 2: Plaintiff moves to exclude Mr. Vellani’s opinion about sex

       trafficking indicators used in the healthcare setting. The motion

       was granted. While Mr. Vellani is qualified to testify on this

       matter, Defendant has not shown that testimony about the

       healthcare system is relevant in this case. The proffered testimony

       will not help the jury to understand the evidence or to determine

       a fact in issue.

    c. Issue 3: Plaintiff moves to preclude Mr. Vellani from referring to

       sex trafficking as a “clandestine” crime. Plaintiff’s motion was

       denied. Defendant has shown that Mr. Vellani has experience in

       assessing security-related matters and crime prevention in a range

       of facilities, including hotels. He further has practical experience

       in the mitigation of sex trafficking at hotels. He is qualified to

       opine that, in his experience, sex trafficking is a “clandestine”

       crime. (Doc. 109-2 at 8.) This testimony is relevant to the issue of

       Defendant’s employees’ knowledge and may help the jury

       understand the evidence. Plaintiff is free to offer evidence and

       argument to the contrary.

    d. Issue 4: Plaintiff moves to preclude Mr. Vellani’s testimony

       regarding the efficacy of sex trafficking indicators in general to

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       deter and prevent sex trafficking. Plaintiff also moves to exclude

       Mr. Vellani’s statement that he is “unaware” of evidence-based

       research to support the “indicia of sex trafficking” promulgated by

       the Department of Homeland Security (DHS) Blue Campaign.

       (Doc. 109-2 at 12.) The Court denied the motion without prejudice

       to Plaintiff raising a trial objection. While Mr. Vellani is not an

       academic or a researcher, Defendant has shown, through his

       expert report and deposition, that his education, training, and

       experience provide him with at least some specialized insight into

       these matters. Testimony about the purported lack of empirical

       support for DHS sex trafficking indicators is relevant under Rule

       401 and may assist the jury in understanding the evidence. So

       long as there is a sufficient foundation laid for the opinion, Mr.

       Vellani may opine on the effectiveness of the indicators. Further,

       the proffered opinion testimony does not run afoul of Rule 403. The

       probative value of this testimony is relatively high because the

       Defendant’s actual and constructive knowledge of Plaintiff’s sex

       trafficking is a central issue in this case. The risk of confusion or

       misleading the jury does not substantially outweigh the probative

       value under Rule 403.

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  16. Plaintiff’s consent motion to modify the protective order (Doc. 208) is

     GRANTED.

  17. Plaintiff’s motion for a curative instruction (Doc. 209), filed on July 4,

     remains pending and will be discussed at or before the charge conference.

  18. Defendant’s objections to Plaintiff’s deposition designations, provided to

     the Court on July 6, will be discussed before opening statements.

     It is ORDERED that the above constitutes the supplemental pretrial

order for the above-captioned case. This supplemental pretrial order shall not

be amended except by order of the Court to prevent manifest injustice.

      SO ORDERED this 7th day of July, 2025.




                                    SARAH E. GERAGHTY
                                    United States District Judge




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